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AO 91 (Rev, 1/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

United States of America )
Vv, )
) Case No.
TIMOTHY CRAIG JOLLOFF ) 2:23-mj-1104-NPM
LISA ANN JOLLOFF
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of | April 2020 through October 2020 in the county of Lee in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1343 Wire Fraud
18 U.S.C. § 1956(h) Conspiracy to Commit Money Laundering
19 U.S.C. § 1957 Illegal Monetary Transactions

FILED

This criminal complaint is based on these facts: JUN 14 2023

SEE ATTACHED AFFIDAVIT.
Clerk, US District Court
Middle District of Florida

Fort Myers, Florida

® Continued on the attached sheet.

Toy & hh

Complainant's signature

Terry S. Hedrick, Senior Special Agent, USSS

Printed name and title

Sworn to me via reliable electronic means (telephone);

o ? ] i }
Date: 06/14/2023 ahhh he Fo iM eel

f é Judge's signature |

City and state: Fort Myers, Florida Nicholas P. Mizell, United States Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF WARRANT

I, Terry S. Hedrick, being duly sworn, states as follows:

I. I am a Senior Special Agent with the United States Secret Service
(USSS), Tampa Field Office - Fort Myers Resident Agency, and have been employed
in this capacity since December 2004. During the course of my career as a USSS
Special Agent, I have led, conducted, and participated in criminal investigations of
violations of United States federal law, specifically complex financial crimes, to
include violations of 18 U.S.C. §§ 1343 (Wire Fraud), 1344 (Bank Fraud), 1349
(Conspiracy to Commit Wire Fraud), 1956(h) (Conspiracy to Commit Money
Laundering), and 1957 (Illegal Monetary Transactions).

De This affidavit supports an application for a criminal complaint and
arrest warrant for TMOTHY CRAIG JOLLOFF and LISA ANN JOLLOFF
(collectively, “the JOLLOFFS”) for wire fraud and the related conspiracy and
unlawful use of loan proceeds related to the fraudulent submission of Paycheck
Protection Program (“PPP”) and Economic Injury Disaster Loan (“EIDL”)
applications to federally insured financial institutions and the Small Business
Administration (“SBA”). Specifically, at least six (6) false and fraudulent PPP loan
applications were electronically submitted to a federally insured financial institution,
which led to the issuance of approximately $409,900 in PPP loan funds.
Additionally, eleven (11) false and fraudulent EIDL applications were submitted to
the SBA, which led to the issuance of approximately $1,738,900 in EIDL and EIDL

Advance funds (“EIDG”). In total, at least $2,148,000 in loan and advance fund
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proceeds were disbursed as a result of the JOLLOFFS’ scheme to defraud financial
institutions and the SBA. In the course of the scheme and conspiracy, the
fraudulently obtained loan proceeds were deposited into bank accounts the
JOLLOFFS opened and controlled. As detailed later, the JOLLOFFS conspired to
misuse the fraudulently obtained loan proceeds by way of monetary transactions of a
value in excess of $10,000, which included the purchase of boats and real estate.

3, Based on these acts, as set forth more fully below, probable cause exists
to believe that Timothy Craig JOLLOFF violated 18 U.S.C. § 1343 (Wire Fraud),
and the JOLLOFFS violated 18 U.S.C. §§ 1956(h) (Conspiracy to Commit Money
Laundering) and 1957 (Illegal Monetary Transactions). This Affidavit is intended to
show merely that there is sufficient probable cause for the requested warrant and
does not set forth all of my knowledge about this matter. Unless specifically
indicated otherwise, all dates and amounts described in this affidavit are approximate
and all statements or representations described in this affidavit are related in
substance and in part.

STATEMENT OF PROBABLE CAUSE

Overview of the Paycheck Protection Program
4. In March of 2020, the Coronavirus Aid, Relief, and Economic Security
(“CARES”) Act was enacted to provide immediate assistance to the millions of
Americans who were suffering the economic effects caused by the COVID-19
pandemic. One source of relief provided by the CARES Act was the authorization

of forgivable loans to small businesses for job retention and certain other expenses,

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through a program referred to as the PPP. The program was administered by the
SBA.

5. To obtain a PPP loan, a qualifying business must submit a PPP
application, signed by an authorized representative of the business. The PPP loan
application required the business (through its authorized representative) to
acknowledge the program rules and make certain affirmative certifications in order to
obtain the PPP loan. In the PPP loan application, the small business (through its
authorized representative) must state, among other things, its: (a) average monthly
payroll expenses; and (b) number of employees. These figures are used to calculate
the amount of money the small business is eligible to receive under the PPP. In
addition, businesses applying for a PPP loan must provide documentation to the
lending institution showing their payroll expenses. Typically, businesses would
supply documents showing the amount of payroll taxes reported to the Internal
Revenue Service (“IRS”).

6. A PPP loan application must be processed by a participating lender. If
approved, the participating lender funds the PPP loan using its own monies, which
are 100% guaranteed by the SBA. Data from the application, including information
from the borrower, the total amount of the loan, and the listed number of employees,
is transmitted by the lender to the SBA in the course of processing the loan. In the
ordinary course of providing the loan guaranty, neither the SBA nor any other
government agency checked IRS records to confirm that the applicant had paid the

payroll taxes represented in the PPP applications.

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de PPP loan proceeds MUST be used by the business on certain
permissible expenses — Payroll costs, interest on mortgages, rent, and utilities.
Interest and principal on the PPP loan are entirely forgiven if the business spends the
loan proceeds on these expense items within a designated period of time and uses a
certain amount of the loan proceeds on payroll expenses. A PPP loan borrower may
qualify for full loan forgiveness if during the 8 to 24 week covered period following
loan disbursement, (i) employee and compensation levels are maintained, (ii) the
loan proceeds are spent on payroll and other eligible expenses, and (iii) at least 60%
of the proceeds are spent on payroll costs. A borrower can apply for forgiveness once
all loan proceeds for which the borrower is requesting forgiveness have been used.
To seek forgiveness, the borrower must submit an application to the lender,
providing a range of information and supporting documentation to establish
eligibility for forgiveness. Once the borrower furnishes a complete application, the
lender then applies to the SBA for forgiveness, furnishing the information provided
by the borrower. Based on the borrower’s information furnished by the lender, the
SBA determines whether the PPP loan qualifies, in whole or in part, for forgiveness.

Overview of the Economic Injury Disaster Loan Program

8. The EIDL program was an SBA program that was in existence prior to
the passing of the CARES Act. It provided low-interest financing to small businesses,
renters, and homeowners in regions affected by declared disasters. The CARES Act
and subsequent legislation also authorized the SBA to provide EIDLs of up to $2

million to eligible small businesses experiencing substantial financial disruptions due

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to the COVID-19 pandemic. In addition, the CARES Act and subsequent legislation
authorized the SBA to issue advances, referred to as EIDL Advances, of up to
$10,000 ($1,000 per employee) to small businesses within three days of applying for
an EIDL. The EIDL Advance (“EIDG”) was a grant authorized by the CARES Act
and was intended to provide emergency economic relief to small businesses facing
economic disruption due to the COVID-19 impact.

9. In order to obtain an EIDL and EIDG, a qualifying business was
required to submit an application to the SBA and provide information about its
operations, such as the number of employees, gross revenue for the 12-month period
preceding the disaster, and cost of goods sold in the 12-month period preceding the
disaster. In the case of EIDLs for COVID-19 relief, the 12-month period was the
period preceding January 31, 2020. For a business to be eligible for an EIDL, the
business must have been in operation before February 1, 2020. The applicant was
also required to certify that all of the information in the application was true and
correct to the best of the applicant’s knowledge.

10. All EIDL applications were submitted online. All applications
submitted on July 11, 2020, or after were handled by an SBA contractor with servers
located in Des Moines, Iowa. Prior to July 11, 2020, EIDL applications were
submitted through three different servers, located in Boydton, Virginia, West Des
Moines, Iowa, or Quincy, Washington. Approval of a loan application and the
amount of a loan was based, in part, on the information provided on the application

about the number of employees, gross revenue, and cost of goods sold, as described

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above. The EIDL loan applications required minimal documentation and
information from small businesses to process the loan for approval.

11. Once an SBA EIDL application was approved, the SBA’s Denver
Finance Center’, located in Denver, Colorado, created payment files and authorized
payments of the EIDL funds based on those applications. The disbursement of the
EIDL funds were transmitted by the Financial Management System (FMS) to the
Treasury and then to the recipient’s bank account. The primary server for the FMS
is in Sterling, VA. Upon approval of an application for an EIDL or advance, SBA
would disburse the funds. EIDL loan proceeds were permitted to be used for payroll
expenses, sick leave, production costs, and business obligations, such as debts, rent,
and mortgage payments.

The JOLLOFFS’ Background

12. The JOLLOFFS have been part-time residents of Lee County, Florida
since at least February 2019. The JOLLOFFS have also been part-time residents of
DeKalb and Steuben County, Indiana during the same period. At or around the time
the JOLLOFFS fraudulently applied for PPP and EIDL loans, they resided at 11300

~ Hidalgo Court, Fort Myers, Florida (the “Hidalgo Residence”).

' Denver Finance Center, OCFO, SBA, 721 19th Street, Suite 373, Denver, CO 80202.
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Overview of the JOLLOFFS’ Entities
13. Timothy JOLLOFF applied for and sought PPP and EIDL funds for
companies that were incorporated in Florida and Indiana. Below is a chart, that
summarizes the name of each company, its date of incorporation, the company’s
officers, and whether it is presently an active company in Florida or Indiana. The
JOLLOFFS are believed to have had an ownership interest in each company. The
information was obtained from records kept and maintained by the Indiana Secretary

of State and Florida Department of State.

Name Date of | State of Officers Status
Inc. Inc.
Avisal, Inc. 12/11/13. | FL Abishek Sallapudi Active
Krupa Sallapudi
Central 4/24/14 | IN James Scott Admin Dissolved
Acquisitions, Inc. (4/5/21)
FXFWY0O1, Inc. 4/1/14 | IN The JOLLOFFS Admin Dissolved
(10/5/22)
FXFW Y03, Inc. 5/1/14 | IN The JOLLOFFS Admin Dissolved
(11/5/2022)
FXFWY04, Inc. 5/1/14 | IN The JOLLOFFS Admin Dissolved
(11/5/22)
FXKOKOl1, Inc. 4/1/14 |IN David Hiatt Admin Dissolved
(4/5/21)
Timothy JOLLOFF
FXKOKO2, Inc. 4/2/14 |IN The JOLLOFFS Admin Dissolved
(10/5/22)
J.P. Gancezak 6/23/11 | IN The JOLLOFFS Active
Enterprises, Inc.
MRK Delivery, 7/30/14 | IN Nicholas Hester Admin Dissolved
Inc. (2/5/11)
Lisa JOLLOFF

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MSN Delivery’s, 4/16/07 | FL Abiskeh Sallapudi Inactive

Inc. (5/14/2021)
Krupa Sallapudi

Schultise 2/1/96 | IN Jason Whitney Admin Dissolved

Enterprises, Inc. (1/5/21)

TZ International, 5/23/16 | FL Timothy JOLLOFF | Admin

Inc. Dissolution
James Bowers (9/24/21)

14. Each business listed above provided package delivery services for
Federal Express Ground Package System, Inc. (FedEx) as independent service
providers (ISP) in Indiana and Florida. Beginning no later than 2019, and before
Timothy JOLLOFF applied for PPP and EIDL loans, FedEx began terminating the
ISP agreements with the companies, causing a complete loss of revenue to each
respective company. Below is a chart that summarizes the “on or about” ISP
termination dates for the companies that received PPP and EIDL funds, based on

records provided to your Affiant by FedEx.

Company Date of ISP
Termination
Avisal, Inc. 12/1/20
Central Acquisitions, Inc. 2/21/20
FXFWY0O1, Inc. 1/17/19
FXFWY03, Inc. 4/10/19
FXFWY04, Inc. 8/13/19
FXKOKOI1, Inc. 2/13/20
FXKOKO0O2, Inc. 8/8/19
J.P. Ganczak Enterprises, Inc. 2/5/20
MRK Delivery, Inc. 11/7/19

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MSN Delivery’s, Inc. 10/15/20
Schultise Enterprises, Inc. 12/12/19
TZ International, Inc. 4/10/20

Overview of Relevant Financial Institutions

15. The Lender was a federally insured bank based in North Carolina. The
Lender was an SBA approved lender and participated in the PPP as a lender to small
businesses. All of the fraudulent PPP applications referenced in this affidavit were
submitted to the Lender. At least six fraudulent PPP applications were submitted to
the Lender.

16. Bank #1 was a federally insured bank based in Indiana. A chart
summarizing each business checking account the JOLLOFFS maintained at Bank
#1 is summarized below. PPP funds were deposited into each of these accounts.

Only the JOLLOFFS were signatories and could draw on funds deposited into these

accounts.
Account Name Account# Date Opened | Signor(s)
FXFWY04, Inc. Ending in -0893 | 6/5/19 The JOLLOFFS
FXKOKO02, Inc. Ending in -0919 | 6/5/19 The JOLLOFFS
MRK Delivery, Inc. Ending in -0877 | 6/5/19 The JOLLOFFS

17. Bank #2 was a federally insured bank based in Ohio. The chart below

summarizes each business checking account the JOLLOFFS maintained at Bank #2.
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PPP, EIDL, and EIDG funds were deposited or transferred into each of these
accounts. Only the JOLLOFFS were signatories and could draw on funds deposited

into these accounts.

Account Name Account# Date Opened | Signor(s)
Avisal, Inc. Ending in -5470 | 11/6/19 The JOLLOFFS
Central Acquisitions, Inc. | Ending in -5397 | 11/5/19 The JOLLOFFS
FXFWY01, Inc. Ending in -5389 | 11/5/19 The JOLLOFFS
FXFWYO0O3, Inc. Ending in -5462 | 11/6/19 The JOLLOFFS
FXFWY04, Inc. Ending in -5405 | 11/5/19 The JOLLOFFS
FXKOKO1, Inc. Ending in -5447 | 11/5/19 The JOLLOFFS
FXKOKO02, Inc. Ending in -5413 | 11/5/19 The JOLLOFFS
J.P. Ganczak Ending in -5439 | 11/5/19 The JOLLOFFS
Enterprises, Inc.

MRK Delivery, Inc. Ending in -0877 | 6/5/19 The JOLLOFFS
MSN Deliverys, Inc. Ending in -5496 | 11/5/19 The JOLLOFFS
Schultise Enterprises, Inc. | Ending in -5421 | 6/5/19 The JOLLOFFS
TZ International, Inc. Ending in -5355 | 8/12/19 The JOLLOFFS

The False and Fraudulent PPP Applications
18. Onor about May 4 and 5, 2020, Timothy JOLLOFF submitted a total
of six false and fraudulent PPP loan applications to the Lender in violation of 18

U.S.C. § 1343. The six applications, described in detail below, were approved and

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funded by the Lender, causing approximately $409,900 to be deposited into bank
accounts controlled by the JOLLOFFS. The chart below summarizes the PPP
applications that were submitted and funded by the Lender. As previously noted, the
ISPs with FedEx were terminated prior to the application/execution dates for each

of the six applications for these businesses.

Application/
Applicant | Business Name Execution se ee a
Date q

— FXFWY01, Inc.| 5/4/20 $39,013 5/5/20
($38,900)

ae FXFWY03, Inc.| 5/4/20 $37,825 5/5/20
o ($37,800)

Se FXFWY04,Inc.} 5/4/20 $93,863 5/5/20
ollo ($93,800)

aha FXKOK(2, Inc. 5/4/20 $58,868 5/5/20
ollo ($58,800)

Timothy | MRK Delivery, 5/5/20 $84,445 5/6/20
Jolloff Inc. ($84,400)

Timothy Schultise 5/4/20 $96,262 a7 5/720
Jolloff | Enterprises, Inc. ($96,200)
Total Funded: $409,900

19.  Inall the PPP loan applications for the loans listed above, Timothy
JOLLOFF and Lisa JOLLOFF were each listed as having 50% percent ownership in
the applicant business. Further, Timothy JOLLOFF was listed as the PPP

applicant’s President and Lisa JOLLOFF was listed as the Vice President. The
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address provided for the JOLLOFFS in all the PPP loan applications was the
Hidalgo Residence in Fort Myers, Florida. The PPP loan applications also listed the
average monthly payroll (AMP), loan request (2.5 times the AMP), and the number
of employees for each of the applicant businesses. The chart below summarizes the

AMP, loan request, and number of employees listed in each of the PPP applications

submitted.
Business Name AMP Loan Request # of
(X 2.5) Employees

FXFWYOl1, Inc. $15,605 $39,013 6
FXFWY03, Inc. $15,130 $37,825 8
FXFWY04, Inc. $37,545 $93,863 10
FXKOKO0O2, Inc. $23,547 $58,868 11
MRK Delivery, Inc. $33,778 $84,445 9
Schultise Enterprises, Inc. $38,512 $96,262 8

20. Insupport of the AMP calculation, copies of Employer’s Annual
Federal Unemployment Tax Returns (Form 940) were submitted for each of the
businesses listed above for the year 2019, to the Lender. The 940s provided the total

payments to all employees for 2019 for the JOLLOFFS’ companies, which was used

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to calculate the AMP by the JOLLOFFS and the Lender. A payroll statement,
summarizing the payroll for each PPP applicant business for the months of January
and February 2020, was also submitted to the Lender in support of the requested
loan amount.

21. As part of the PPP loan applications, the authorized representative for
the applicant business was required to make a number of representations and
certification. Timothy JOLLOFF served as the authorized representative for all six of
the PPP loan applications. Timothy JOLLOFF represented that “[a]I] SBA loan
proceeds will be used only for business-related purposes as specified in the loan
application and consistent with the Paycheck Protection Program Rules.”
Additionally, Timothy JOLLOFF initialed and falsely certified, among other things,
that the PPP funds acquired from the requested loan would “be used to retain
workers and maintain payroll or make mortgage interest payments, lease payments,
and utility payments.” Timothy JOLLOFF further certified that he understood that
the federal government could pursue criminal fraud charges if the “funds are
knowingly used for unauthorized purposes.” These statements were knowingly false
when made because, as further explained below, the JOLLOFFS knowingly used the
PPP funds for unauthorized purposes. All six of the PPP loan applications
summarized above were both physically and digitally signed by Timothy JOLLOFPF.

22. Following the Lender’s approval of the JOLLOFFS’ six PPP loan
applications, Timothy JOLLOFF electronically signed and executed a PPP loan

agreement for each loan on or about May 4 and 5, 2020. The Lender’s PPP loan
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agreement contained the terms of the loan, including limits on the use of the PPP
loan funds that were consistent with the PPP application. Specifically, that the
“TbjJorrower shall not use any proceeds of the Loan for (i) personal, family or
household purposes...” The loan agreement also contained a use of funds provision
that, “[t]he funds will be used to retain workers and maintain payroll or make
mortgage interest payments, lease payments, and utility payments, as specified under
the Paycheck Protection Program Rule.”

The JOLLOFFS Misuse of PPP Funds
(Conspiracy to Commit Money Laundering, Illegal Monetary Transactions)

23. Inreliance on the fraudulent representations, the Lender approved the
six PPP loan applications and deposited PPP funds into accounts the JOLLOFFS
controlled at Banks #1 and #2, on or about May 5, 2020. The chart below

summarizes the accounts at Banks #1 and #2 that the PPP funds were deposited

into.
Account PPP Loan Total PPP
Deposited
Bank #1
Ending in -0919 FXKOKO02, Inc. $58,800
(FXKOKO2, Inc.)
Bank #1
Ending in -0893 FXFWY04, Inc. $93,800
(FXFWY04, Inc.)
Bank #1 .
Ending in -0877 MRK Delivery, Inc. $84,400

(MRK Delivery, Inc.)

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Bank #2
Ending in -5421 Schultise Enterprises, Inc. $96,200
(Schultise Enterprises, Inc.)

Bank #2
Ending in -5389 FXFWY0Ol1, Inc. $38,900
(FXFWY01, Inc.)

Bank #2
Ending in -5462 FXFWY03, Inc. $37,800
(FXFWY03, Inc.)

24. On May 6, 2020, a day after the PPP loan funds were deposited, the
JOLLOFFS moved $404,650 of the $409,900 in PPP funds to the Bank #2 account
ending in -5470, in the name of Avisal, Inc. Specifically, the JOLLOFFS wired
$93,750 in PPP funds for FXKFWY04, Inc., $53,750 in PPP funds for FXKOK02,
Inc, and $84,350 in PPP funds for MRK Delivery, Inc. to the Avisal, Inc. Bank #2
account ending in -5470. Additionally, Lisa JOLLOFF withdrew $38,900 in PPP
funds intended for FXFWY0O1, Inc., $37,800 in PPP funds intended for FXKFWY03,
Inc., and $96,100 in PPP funds intended for Schultise Enterprises, Inc., at a Bank #2
branch office and transferred the funds to the Avisal, Inc. Bank #2 account ending in
-5470. Before the PPP funds were moved into the Avisal, Inc. Bank #2 account, the
account’s balance was $17, with little to no account activity. Below is a chart that
summarizes the movement of PPP funds to the Avisal, Inc. Bank #2 account ending

in -5470.

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Date PPP Loan Source Amount
5/6/2020 FXFWYOl1, Inc. Withdrawal and Transfer $38,900
5/6/2020 | FXFWY0O3, Inc. Withdrawal and Transfer $37,800
5/5/2020 | FXFWY04, Inc. Wire Transfer $93,750
5/6/2020 | FXKOKO2, Inc. Wire Transfer $53,750
5/6/2020 | MRK Delivery, Inc. Wire Transfer $84,350
5/6/2020 | Schultise Enterprises, Inc. | Withdrawal and Transfer $96,100
Total PPP deposited into Bank #2 ending in -5470 $404,650

25. After $404,650 in PPP funds were transferred and deposited into the
Avisal, Inc. Bank #2 account ending in -5470, the JOLLOFFS conducted monetary
transactions, thereafter, misusing the funds for their own personal enrichment.
Specifically, on May 19, 2020, Lisa JOLLOFF issued a $56,355.66 check to Sam
Galloway Ford, an auto dealership in Fort Myers, Florida, for the purchase of a 2019
GMC Sierra 1500 Denali pickup truck. Prior to this date, Lisa JOLLOFF had never
issued a check from the account. The truck was purchased for an individual with the
initials K.S. and registered in his/her name. The truck is used as a personal vehicle
by K.S.

26. On May 26, 2020, Timothy JOLLOFF issued two checks, each in the

amount of $25,000, to his then minor children, C.J. and M.J. Your Affiant believes,

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based on a bankruptcy filing? by the JOLLOFFS on January 17, 2022, that the
purpose of the checks was for college tuition. Later, on October 15, 2020, Timothy
JOLLOFF issued another $36,000 check, funded by PPP monies, to C.J.

nb On May 30, 2020, Lisa JOLLOFF issued a $26,000 check to Van’s
Home Center, a furniture and appliance retailer in Auburn, Indiana. An invoice
related to the transaction showed the funds were used to purchase furniture for the
JOLLOFFS’ personal residence located at 5814 Menza Dr, Auburn, Indiana (the
“Menza Residence”). The JOLLOFFS also unlawfully used EIDL funds towards the
purchase of the Menza Residence, discussed further below.

28. On June 18, 2020, Lisa JOLLOFF issued a $85,000 check to Searay of
Louisville. The check was for the purchase of a 2019 Barletta pontoon boat and
trailer. The boat was purchased in the name of Bob Jolloff, who is believed to be
Timothy JOLLOFF’s father. On July 23, 2020, Timothy JOLLOFF issued a $25,575
check to Fear Powersports. A review of records from Fear Powersports, revealed the
check was for the purchase of a 2020 Polaris 1000XP (Side by Side Ultra Terrain
Vehicle (UTV)). The Polaris was purchased and registered in the name of Timothy
JOLLOFF.

29. On October 2, 2020, the JOLLOFFS made a $13,000 payment, using

PPP funds from the Avisal Bank #2 account ending in -5470, to pay down the

2 The JOLLOFFS originally filed for Chapter 13 bankruptcy on or about August 13, 2021, under Case No, 2:21-bk-
01052-FMD. Their bankruptcy was thereafter converted to a Chapter 7 bankruptcy on October 19, 2021. On August
26, 2022, the JOLLOFFS’ bankruptcy case was dismissed.

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balance of a Discover credit card account ending in -0046 in the name of Lisa
JOLLOFF. The credit card balance that was paid down included a $8,519.98
purchase from a pet store in Fort Myers, Florida on September 17, 2020. Records
from the pet store revealed the JOLLOFFS purchased two dogs. On October 20,
2020, Timothy JOLLOFF issued an $8,500 check, using PPP funds, to a jewelry
store in Fort Myers, Florida for the purchase of a white gold, 3 carat total weight,
diamond ring.

30. The JOLLOFFS also issued checks to themselves, using PPP funds,
from the Avisal, Inc. Bank #2 account ending in -5470, between May 21, 2020, and
October 21, 2020. The checks were in varying amounts, ranging from $2,000 to
$8,500. Below is a chart that summarizes each check issued to the JOLLOFFS from
the account, which were all funded with the use of PPP funds. The non-sequential

checks listed below were counter checks the JOLLOFFS had issued by Bank #2.

Date Payee Check # | Amount

5/21/2020 | Tim Jolloff 1002 $2,000.00
5/21/2020 | Tim Jolloff 1003 $2,000.00
8/17/2020 | Lisa Jolloff 74336942 $8,500.00
9/4/2020 Lisa Jolloff 19247 $6,000.00
9/25/2020 | Tim Jolloff 1002 $8,500.00
9/25/2020 | Lisa Jolloff 1005 $2,000.00
10/1/2020 | Lisa Jolloff 1032 $2,500.00
10/16/2020 | Lisa Jolloff 1034 $2,500.00
10/16/2020 | Lisa Jolloff 16740 $7,000.00

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10/21/2020 | Lisa Jolloff 12795 $2,500.00

$43,500.00

Total

31. Based on your Affiant’s review of the JOLLOFFS’ use of PPP funds in
the Avisal, Inc. Bank #2 account ending in -5470, there were no transactions
consistent with payroll payments made to the number of employees that Timothy
JOLLOFF represented his companies employed (52 employees total in the six PPP
applications described above).

The False and Fraudulent EIDL Applications (Wire Fraud)

32. Onor about April 4, 2020, Timothy JOLLOFF electronically submitted
at least eleven false and fraudulent EIDL applications to the SBA in violation of 18
U.S.C. § 1343. Below is a chart that summarizes each approved EIDL application

and the date the EIDL was funded by the SBA.

Application ae D
Applicant(s) Business = Loan EIDG ate
Date Funded
Amount

Timothy Jolloff Avisal, Inc. 4/4/20 $150,000 Y 6/12/20
($10,000)

Timothy Jotlor | MRK Delivery, | 474/29 | $150,000) YY _| 6/12/20
Inc, ($10,000)

Timothy Jolloff | FXFWY03, Inc. 4/4/20 $150,000 Y 6/12/20
($10,000)

Timothy Jolloff Schultise 4/4/20 $150,000 N 6/12/20

Enterprises, Inc.

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Timothy Jolloff | FXKOKOI, Inc. 4/4/20 $150.000 Y 6/12/20
($10,000)

Timothy Jolloff Central 4/4/20 |$150,000]  Y 6/12/20
Acquisitions, Inc. , ($10,000)

Timothy Jolloff | FXFWY04,Inc. | 4/4/20 | $150,000; N 6/12/20

Timothy Jolloff | FXKOK02,Inc. | 4/4/20 | $150,000; Y 6/12/20
($10,000)

Timothy Jollor | 14 International, | 474/29 | $150,000| Y _ | 6/12/20
Ine. ($10,000)

‘Tinchydoltes | “ee™ 4/4/20 | $150,000)  Y 6/12/20
Enterprises, Inc. ($10,000)

33. The eleven approved EIDLs totaled $1,648,900°, all of which was
deposited into various accounts opened by the JOLLOFFS. The SBA also reviewed
the EIDL applications and approved EIDGs for nine of their eleven businesses,
totaling $90,000 in EIDG funds. Applications for the approved EIDLs and EIDGs
listed above were electronically submitted via the internet from an IP address in the
Fort Myers Division of the Middle District of Florida. Only Avisal, Inc. and TZ

International, Inc. had active ISPs with FedEx at the time of application for the

3 The SBA would deduct a $100 UCC filing fee for each EIDL over $25,000, so the JOLLOFFS received a
$149,900 deposit for each EIDL.

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EIDL loans. However, by the date of funding for both, only Avisal, Inc. had an
active ISP with FedEx.

34.  Inall the EIDL applications listed above, the applicant’s business
activity was transportation. The EIDL applicant’s Gross Revenue and Cost of Goods
Sold (COGS) for the 12 months prior to the date of the disaster (January 31, 2020), is
summarized in the chart below. The Gross Revenue and COGS was used by the
SBA to calculate the EIDL loan amount. The SBA did not request any additional
supporting documentation from Timothy JOLLOFF, and the SBA approved the
EIDLs based on what was represented in each EIDL application. Further, the EIDL
applications listed the number of employees for each business, which was used by the
SBA to approve and fund the EIDGs. Below is a chart that summarizes the relevant

information, used by the SBA to calculate and approve each EIDL application.

Business Business Gross COGS 5 # a
Activity Revenue MIBIU TEES
MRK Delivery, Inc. Transportation $830,993 $376,578 1]
FXFWY03, Inc. Transportation | $1,383,240 | $683,691 17
Schultise Enterprises, | Transportation | $936,471 $450,780 13
Inc.
FXKOKOI1, Inc. Transportation | $986,244 | $503,881 14

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ronal Acquisitions, | Transportation | $1,331,871 | $582,504 18
FXFWY0l1, Inc. Transportation | $981,595 | $541,015 12
FXFWY04, Inc. Transportation | $1,331,871 | $582,504 17
FXKOKO2, Inc. Transportation | $1,143,538 $542,581 16
TZ International, Inc. | Transportation | $1,014,582 | $485,632 14
tai Inc. Transportation | $1,067,347 | $531,446 15

35. For all the EIDL applications submitted above, Timothy JOLLOFF
was listed as the 100% owner of the EIDL applicant businesses. It should be noted,
that in PPP applications submitted for FXFWY01, Inc., FXFWY03, Inc.,
FXFWY04, Inc., FXKKOK02, Inc, MRK Delivery, Inc., and Schultise Enterprises,
Inc. on May 4 and 5, 2020, Timothy JOLLOFF represented that he and Lisa
JOLLOFF each had 50% ownership interest in the businesses.

36. Following the SBA’s approval of the EIDL applications listed above,
Timothy JOLLOFF electronically signed and executed an SBA Loan Authorization
and Agreement, Note, and Security Agreement. The loan documents for all the
EIDLs were electronically signed and dated June 11, 2020. The Loan Authorization
and Agreement contained a section titled “Use of Loan Proceeds.” This section

stated, the “[bJorrower will use all the proceeds of this Loan solely as working capital

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to alleviate economic injury caused by disaster occurring in the month of January 31,
2020, and continuing thereafter...” As detailed below, the JOLLOFFS did not use
the EIDL funds for working capital to alleviate economic injury caused by the
pandemic. Instead, the JOLLOFFS conspired to misuse the EIDL funds for their
own personal enrichment.

37. |The SBA Security Agreement that was also electronically signed by
Timothy JOLLOFF on June 11, 2020, for the eleven approved EIDL loan
applications, contained a section titled “Borrower Certifications” that also limited
the use of EIDL funds. Specifically, that “none of the [o]bligations are or will be
primarily for personal, family or household purposes.” The obligation, per the loan
agreement, was the EIDL amount, including interest, other fees, and expenses. As
further discussed below, the JOLLOFFS conspired to use EIDL funds for personal
purposes. Timothy JOLLOFF, therefore, made a false certification concerning the
use of EIDL funds in the SBA Security Agreement.

The JOLLOFFS Misuse of EIDL Funds
(Conspiracy to Commit Money Laundering, Illegal Monetary Transactions)

38. Inreliance on the fraudulent representations, the SBA approved eleven
of the EIDL applications and deposited EIDL funds into accounts the JOLLOFFS
controlled at Bank #2 beginning on or about June 12, 2020. EIDG funds were also
deposited into accounts controlled by the JOLLOFFS at Bank #2, between May 1,
and June 26, 2020. The chart below summarizes the accounts at Bank #2 that the

EIDL and EIDG funds were deposited into.

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Ending in -5470
(Avisal, Inc.)

Account EIDL Loan/EIDG Total EIDL/EIDG
Deposited
Banke Avisal, Inc $159,900

(5/1/20*, 6/15/20)

Bank #2
Ending in -5397
(Central Acquisitions, Inc.)

Central Acquisitions, Inc.

$159,900
(5/1/20*, 6/12/20)

Bank #2
Ending in -5389
(FXFWY0O1, Inc.)

FXFWY0O1, Inc.

$159,900
(5/1/20*, 6/12/20)

Bank #2
Ending in -5462
(FXFWY0O3, Inc.)

FXFWY0O3, Inc.

$159,900
(5/1/20*, 6/12/20)

Bank #2

Ending in -5447
(FXKOKO1, Inc.)

Ending in -5405 FXFWY04, Inc. ea
(FXFWY04, Inc.)
Bank #2 $159,900

FXKOKOI, Inc.

(5/1/20*. 6/12/20)

Bank #2
Ending in -5413
(FXKOKO2, Inc.)

FXKOK0O2, Inc.

$159,900
(S/1/20*, 6/12/20)

Bank #2
Ending in -5439
(J.P. Ganczak Enterprises, Inc)

J.P. Ganezak
Enterprises, Inc.

$159,900
(5/1/20, 6/12/20*)

Bank #2
Ending in -5454
(MRK Delivery, Inc.)

MRK Delivery, Inc.

$159,900
(5/1/20*, 6/12/20)

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Bank #2
Ending in -5421 Schultise Enterprises, Inc. SS 7
(Schultise Enterprises, Inc.)
Bank #2 $159,900
Ending in -5355 TZ International, Inc. (6/12/20,
(TZ International, Inc.) 6/26/20*)
* - Date of EIDG Deposit TOTAL: $1,738,900

39. A total of $1,738,900 in EIDL and EIDG funds for the eleven EIDL
applications listed above was deposited into accounts the JOLLOFFS controlled at
Bank #2. Between June 12 and 15, 2020, $1,649,100 in EIDL funds were transferred
from the accounts listed above, via inter-account transfers, to the Bank #2 account
ending in -5496, in the name of MSN Deliverys, Inc. Before EIDL funds were
transferred into the account, the account’s balance was $102. Once the funds were
transferred, the JOLLOFFS began to fraudulently misuse the EIDL funds for their
own personal enrichment. The transactions described below were funded directly by
the EIDL funds that were transferred into the MSN Deliverys account.

40. Between June 16 and July 2, 2020, the JOLLOFFS used a total of
$30,500 in EIDL funds to pay down credit card balances on Lisa JOLLOFF’s
Discover credit card account ending in -0046. The credit card transactions that
preceded the payments were for personal items. Specifically, the credit card was used
to make a $4,657.26 and $405.23 purchase at Leaders Casual Furniture on June 5,
2020, and a $4,207.15 purchase at the Great Escape on June 13, 2020. Records from
the Great Escape, an outdoor furniture retailer in Fort Wayne, Indiana, showed the

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invoice was in the name of Timothy JOLLOFF and was for an outdoor kitchen and
barbecue grill. On June 15 and 23, 2020, the JOLLOFFS used the credit card to
make two separate purchases from Paradise Grills in Fort Myers, Florida, in the
amounts of $5,000 and $10,304.68. Records from Paradise Grills showed the
transactions related to the purchase of a “Tahiti 6X9” (an outdoor kitchen) and four
chairs. The customer on the invoice was Timothy JOLLOFF and the outdoor
kitchen was delivered and installed at 12909 Hadley Ct. Fort Myers, Florida (the
“Hadley Ct. Residence”). The credit card was used again on July 2, 2020, fora
$9,756.89 purchase from Sanborns Sofas in Angola, Indiana. On the same date, the
JOLLOFFS made a $10,000 credit card payment using EIDL funds.

41. On July 7, 2020, Timothy JOLLOFF wired approximately $114,900 in
EIDL funds to Marine 360 in Chapin, South Carolina. The wire was for the
purchase of a 2018 Crest 270 Continental pontoon boat and trailer. A copy of the
invoice, provided by Marine 360, showed the boat was purchased by Timothy
JOLLOFF and Lisa JOLLOFF. The delivery address for the boat was the Hadley
Ct. Residence.

42. On July 17, 2020, Lisa JOLLOFF issued a $54,526.74 check to a bank
in Angola, Indiana for the purchase of real property located at 420 Ln 101 FA
Jimmerson Lake #A, Angola, Indiana. The total purchase price for the property was
approximately $290,000, and the $54,526,74 down payment was funded entirely by
EIDL funds. The property was purchased in the names of Timothy and Lisa

JOLLOFF.
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43. On July 24, 2020, the JOLLOFFS wired $55,972.76 in EIDL funds to a
title company in Fort Wayne, Indiana for the purchase of the Menza Residence in
Auburn, IN. The total purchase price for the property was $562,000, and the home
was purchased in the JOLLOFFS’ names.

44. The JOLLOFFS used EIDL funds to purchase another pontoon boat
on August 7, 2020. Specifically, Lisa JOLLOFF wired $112,000 in EIDL funds to an
individual with the initials G.N. for the purchase of a 2018 27-foot Crest pontoon
boat and trailer. In February 2023, a USSS agent interviewed G.N. about the boat
transaction. G.N. stated he was contacted by Timothy JOLLOFF via text message
about the purchase of G.N.’s boat. According to G.N., Timothy JOLLOFF
purchased the boat unseen and arranged for a driver to pick up the boat from a boat
dealership in Algonac, Michigan.

45. In August and October of 2020, the JOLLOFFS used approximately
$330,079.65 in EIDL funds to purchase a furniture company, Sanborn’s Sofas Plus
Furniture Co, Inc., as well as commercial property located at 1990 W Muamee
Street, Angola, Indiana, which was the business’s location. Specifically, on August
20, 2020, Timothy JOLLOFF issued a $25,000 check, using EIDL funds, to a law
firm as an escrow payment for the business and property. Later, on October 15,
2020, the JOLLOFFS wired $305,079.65 in EIDL funds to a title company in
Angola, Indiana as a down payment for the purchase of the furniture business and
commercial property. It should be noted that none of the JOLLOFFS’ businesses

that applied and received EIDL funds were in the furniture industry.
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46. The JOLLOFFS also used EIDL funds to purchase a landscape
company called New Leaf Landscape Management that was based in Sarasota,
Florida. Beginning on September 9, 2020, the JOLLOFFS wired $10,000 in EIDL
funds to a law firm in Naples, Florida, which was a deposit for the purchase of the
business, The JOLLOFFS later wired the law firm an additional $325,724.61 on
October 5, 2020, and $9,860.78 on October 7, 2020, all funded by EIDL funds, to
purchase the landscape business. Of note, none of JOLLOFFS’ companies that
received EIDLs were in the landscaping or lawn maintenance industry,

CONCLUSION

47. Based on the foregoing, I have probable cause to believe that Timothy
JOLLOFF and Lisa JOLLOFF have committed violations of 18 U.S.C. §§ 1343
(Wire Fraud),1956(h) (Conspiracy to Commit Money Laundering), and 1957 (Illegal
Monetary Transactions). I therefore request that the Court issue a criminal complaint
and arrest warrant for Timothy JOLLOIT and Lisa JOLLOPFT.

Terry S. Hedrick
Senior Special Agent
United Stated Secret Service

Affidavit submitted by email and attested to me

as true and accurate by telephone consistent with

I'ed. R. Crim. P. 4.1 and 41(d)(3) before me

this 14th _ oe at J une ayae in Fort Myers, Florida.
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NICHOLAS P. MIZELL!

United States Magistrate Judge

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